                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 1 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                 for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )           Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Angela Tozer
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:25 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                          Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 2 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 3 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Bonnie Huskins
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                             SUMMONS ISSUED:
                          4:26 pm, July 02, 2024
                             JOAN KANE, CLERK

                        By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                          Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 4 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 5 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Jeff Brown
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
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attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:26 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                          Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 6 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


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                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 7 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                           for the
                                             Western District of Oklahoma
                                                           )
                                                           )
Douglas Mastriano
                                                           )
                                                           )
                             Plaintiff(s),                 )
                                                           )
v.                                                         )         Case No.   5:24-cv-00567-F
                                                           )
James Gregory, III, et al                                  )
                                                           )
                                                           )
                             Defendant(s).                 )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Carolyn MacDonald
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:26 pm, July 02, 2024
                               JOAN KANE, CLERK

Signed and sealed by theBy:_________________________________
                         Clerk of the Court or Deputy Clerk.
                          Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 8 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 9 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Cindy Brown
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                              SUMMONS ISSUED:
                           4:26 pm, July 02, 2024
                              JOAN KANE, CLERK

                        By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 10 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 11 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Stephen Dutcher
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
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attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
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                               SUMMONS ISSUED:
                            4:27 pm, July 02, 2024
                               JOAN KANE, CLERK

                       By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 12 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 13 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Elizabeth Mancke
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
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            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                             SUMMONS ISSUED:
                          4:27 pm, July 02, 2024
                             JOAN KANE, CLERK

                        By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 14 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 15 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

          James Gregory, III
          1509 Vandivort Place
          Edmond, OK 73034

         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:27 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 16 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 17 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                 for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )           Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Stefanie Hunt-Kennedy
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:27 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 18 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 19 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                             Western District of Oklahoma
                                                                )
                                                                )
Douglas Mastriano
                                                                )
                                                                )
                             Plaintiff(s),                      )
                                                                )
v.                                                              )         Case No.   5:24-cv-00567-F
                                                                )
James Gregory, III, et al                                       )
                                                                )
                                                                )
                             Defendant(s).                      )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
           Jane Doe




         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:27 pm, July 02, 2024
                               JOAN KANE, CLERK

                         By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 20 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 21 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )          Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

           Jane Doe
           1200 Montreal Road, Building M-58
           Ottawa, Ontario K1A 0R6

         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:27 pm, July 02, 2024
                               JOAN KANE, CLERK

                         By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 22 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




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                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 23 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Jane Doe
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                SUMMONS ISSUED:
                             4:28 pm, July 02, 2024
                                JOAN KANE, CLERK

                           By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 24 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 25 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Janet Mullin
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
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attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                             SUMMONS ISSUED:
                          4:28 pm, July 02, 2024
                             JOAN KANE, CLERK

Signed and sealed by By:_________________________________
                     the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 26 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 27 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
           John Doe




         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:28 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 28 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 29 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

           John Doe
           1200 Montreal Road, Building M-58
           Ottawa, Ontario K1A 0R6

         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                SUMMONS ISSUED:
                             4:29 pm, July 02, 2024
                                JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 30 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 31 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                             Western District of Oklahoma
                                                                )
                                                                )
Douglas Mastriano
                                                                )
                                                                )
                             Plaintiff(s),                      )
                                                                )
v.                                                              )         Case No.   5:24-cv-00567-F
                                                                )
James Gregory, III, et al                                       )
                                                                )
                                                                )
                             Defendant(s).                      )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        John Doe
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                              SUMMONS ISSUED:
                           4:29 pm, July 02, 2024
                              JOAN KANE, CLERK

                         By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 32 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
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           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 33 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        John Ferris
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                             SUMMONS ISSUED:
                          4:29 pm, July 02, 2024
                             JOAN KANE, CLERK

                        By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 34 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




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                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 35 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                             Western District of Oklahoma
                                                                )
                                                                )
Douglas Mastriano
                                                                )
                                                                )
                             Plaintiff(s),                      )
                                                                )
v.                                                              )         Case No.   5:24-cv-00567-F
                                                                )
James Gregory, III, et al                                       )
                                                                )
                                                                )
                             Defendant(s).                      )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Sean Kennedy
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                              SUMMONS ISSUED:
                           4:29 pm, July 02, 2024
                              JOAN KANE, CLERK

                         By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 36 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 37 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

          Roland Kuhn
          1200 Montreal Road
          Ottawa, Ontario K1A 0R6

         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
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            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
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                             SUMMONS ISSUED:
                          4:29 pm, July 02, 2024
                             JOAN KANE, CLERK

                       By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 38 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 39 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                             Western District of Oklahoma
                                                                )
                                                                )
Douglas Mastriano
                                                                )
                                                                )
                             Plaintiff(s),                      )
                                                                )
v.                                                              )         Case No.   5:24-cv-00567-F
                                                                )
James Gregory, III, et al                                       )
                                                                )
                                                                )
                             Defendant(s).                      )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Lisa Todd
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                              SUMMONS ISSUED:
                           4:29 pm, July 02, 2024
                              JOAN KANE, CLERK

                         By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 40 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 41 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        David MaGee
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                             SUMMONS ISSUED:
                          4:30 pm, July 02, 2024
                             JOAN KANE, CLERK

                        By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 42 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 43 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                             Western District of Oklahoma
                                                                )
                                                                )
Douglas Mastriano
                                                                )
                                                                )
                             Plaintiff(s),                      )
                                                                )
v.                                                              )         Case No.   5:24-cv-00567-F
                                                                )
James Gregory, III, et al                                       )
                                                                )
                                                                )
                             Defendant(s).                      )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Margaret MacMillan
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                              SUMMONS ISSUED:
                           4:30 pm, July 02, 2024
                              JOAN KANE, CLERK

                         By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 44 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 45 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                 for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )           Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Paul Mazerolle
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:30 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 46 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 47 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                             Western District of Oklahoma
                                                                )
                                                                )
Douglas Mastriano
                                                                )
                                                                )
                             Plaintiff(s),                      )
                                                                )
v.                                                              )         Case No.   5:24-cv-00567-F
                                                                )
James Gregory, III, et al                                       )
                                                                )
                                                                )
                             Defendant(s).                      )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Erin Morton
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:30 pm, July 02, 2024
                               JOAN KANE, CLERK

                         By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 48 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 49 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                 for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )           Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

           National Research Council of Canada
           1200 Montreal Road, Building M-58
           Ottawa, Ontario K1A 0R6

         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:30 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 50 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 51 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Drew Rendall
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                             SUMMONS ISSUED:
                          4:31 pm, July 02, 2024
                             JOAN KANE, CLERK

                       By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 52 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 53 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Robert Bothwell
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                              SUMMONS ISSUED:
                           4:31 pm, July 02, 2024
                              JOAN KANE, CLERK

                      By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 54 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 55 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                 for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )           Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Sarah-Jane Corke
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:31 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 56 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 57 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                for the
                                             Western District of Oklahoma
                                                                )
                                                                )
Douglas Mastriano
                                                                )
                                                                )
                             Plaintiff(s),                      )
                                                                )
v.                                                              )         Case No.   5:24-cv-00567-F
                                                                )
James Gregory, III, et al                                       )
                                                                )
                                                                )
                             Defendant(s).                      )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Sasha Mullaly
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                              SUMMONS ISSUED:
                           4:31 pm, July 02, 2024
                              JOAN KANE, CLERK

                         By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 58 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 59 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Matthew Sears
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:32 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 60 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 61 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                               for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )         Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                             SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        University of New Brunswick, Canada
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:32 pm, July 02, 2024
                               JOAN KANE, CLERK

Signed and sealed by the Clerk of the Court or Deputy Clerk.
                       By:_________________________________
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 62 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




          Print                        Save As...                                                                     Reset
                        Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 63 of 64
AO440(Rev.12/09) Summons in a Civil Action

                                  UNITED STATES DISTRICT COURT
                                                                 for the
                                             Western District of Oklahoma
                                                               )
                                                               )
Douglas Mastriano
                                                               )
                                                               )
                             Plaintiff(s),                     )
                                                               )
v.                                                             )           Case No.   5:24-cv-00567-F
                                                               )
James Gregory, III, et al                                      )
                                                               )
                                                               )
                             Defendant(s).                     )


                                              SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
        Lee Windsor
        Sir Howard Douglas Hall
        P.O. Box 4400
        Fredericton, New Brunswick
        Canada
        E3B 5A3
       A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee of the United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s
attorney, whose name and address are:
            Douglas Mastriano
            c/o Daniel L. Cox
            The Cox Law Center, LLC
            P.O. Box 545
            Emmitsburg, MD 21727 410-254-7000; e-mail: dcox@coxlawcenter.com
      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                               SUMMONS ISSUED:
                            4:32 pm, July 02, 2024
                               JOAN KANE, CLERK

                          By:_________________________________
Signed and sealed by the Clerk of the Court or Deputy Clerk.
                         Case 5:24-cv-00567-F Document 3 Filed 07/02/24 Page 64 of 64

$2 5HY2 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4(l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                         RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                    RQ(date)                         RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
                                                                                                                                          


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI   0.00                


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF




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